                  Case 3:22-cv-00479-TSL-MTP                Document 28-7           Filed 09/07/22        Page 1 of 22
                                           OFFENSE REPORT
                                                                                                                    Sheet #
     Case # C-25094-19                 Date Rec.        09-10-2019                    LEXINGTON POLICE               5490
  1. COMPLAINANT OR FIRM                                                AGE    RACE       SEX        2. PHONE(BUSINESS)
 CHARLES HENDERSON PD-8
  3. COMPLAINANT'S ADDRESS                                                4. CITY                     5. PHONE(RESIDENT)

     6. COMPLAINANT'S BUSINESS             ADDRESS                              JOB TITLE     WILL COMPLAINTANT PROSECUTE?
                                                                                                       ■ YES ■ NO
  7. OFFENSE                                                   8. PLACE OF OCCURRENCE          9. TYPE PREMISES
 Fail To Obey, Open Container, Loitering                           Mid West Yazoo Street
 10. DAY DATE & TIME OF OFFENSE                          11. REPORTED BY 12, REPORTED TO      13. HOW REPORTED
                                                                                C. Hendedrson       Person
14. BODILY YES 0    VICTIM TAKEN TO                    15. TRANSPORTED BY 16. DESC.INJURIES    17. CONDITION
    INJURIES NO ■
  18. M/O   HOW DONE FORCE USED     WITH WHAT TOOL OR WEAPON                                OTHER ACTS OR TRADEMARKS

19. VEHICLE INVOLVED? OWNER                20. YEAR COLOR MAKE MODEL BODY STYLE LIC. NO. YEAR STATE VIN. NO.
  YES ❑
   NO ❑
CODES          S - STOLEN PROPERTY         D - DAMAGED PROPERTY     L - LOST PROPERTTY    F - FOUND PROPERTY
21. CODE            DESCRIPTION
 P S-D-L-F QTY.     (SIZE, COLOR, MODEL,STYLE, MATERIAL, CONDITION)        SERIAL NO.  WHERE PURCHASED      VALUE
 R
 0
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 1   22. DISPOSITION OF PROPERTY
                                                                                          23. TOTAL VALUE
24. WITNESS NAME                                   BEST CONTACT ADDRESS 1               AGE 1 BEST PHONE 1        OTHER PHONE 1
1.
    WITNESS NAME                                   BEST CONTACT ADDRESS 2              AGE 2 BEST PHONE 2 OTHER PHONE 2
2.
     25. NAME AND ADDRESS OF SUSPECT(S)(AGE, RACE, DESCRIPTION, RELATION TO COMPLAINTANT OR WITNESS)
 1.
 2.
26. DETAILS NOT COVERED ABOVE
    On Thursday September 5, 2019 at approximately 00:30 hrs, This Officer Charles Henderson badge #8 was patrolling
    Yazoo Street in the City Limits of Lexington, MS. I observed loud music being from loud as I was approaching the Mid West
    Store located at 302 Yazoo Street. I then observed 3 vehicles as I puulled on the parking lot, which the store was closed.

      I then initated my Blue Lights, which I observed Michael Stewart stand up from a lounge chair and holler asking me what did
      I want. I then instructed Michael that he needed to leave that the store was closed and he knew he wasn't suppose to be
      there. He then replied " No One Didn't Tell You, This My Property". I then said yea right, you need to leave or go to jail,
      which he then stated " No One Taking Me Any Where'.

    Michael then walked back to his chair by his truck and got a Bud Light out his cooler and started drinking his beer. I then
    turned on my siren in front him trvina to aet him to leave. which he continued to drink. I then Dulled back beside him and told
                                                  ADDITIONAL SHEET ATACHED YES I I NO I I.
 27. INVESTIGATING OFFICER(S)                                        28. REPORT MADE BY                               DATE
                                                                    C. Henderson PD-8                           9-5-2019
29. CASE FILED                                                                            31. APPROVED BY              BADGE NO.
 YES ❑ NO ❑          Cleared by arrest ■ Unfounded ■ inactive ■ other ■




                                                                Exhibit "I"
 Case 3:22-cv-00479-TSL-MTP                  Document 28-7           Filed 09/07/22        Page 2 of 22




him if I wanted him to go to jail he would and he said I wasn't going to put my hands on him.



I then told him that he wasn't going to do anything to cause if I try to arrest him and he put his hands on
me his family would be wearing Black Suits. I then told him to leave several more times, which he say he
had Sheriff Willie March on the phone. I then left the store parking lot while he continued to drink and
have the music very loud, which he had a large size speaker playing.
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                         OFFENSE REPORT
Case # C-25094-19        Date Rec.   09-10-2019
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            Case 3:22-cv-00479-TSL-MTP                       Document 28-7       Filed 09/07/22      Page 7 of 22
                                       NNW • I     Nor   I    Km.I   V I 'I. I




  Case # C-26050-22                   Date Rec.              06/30/2022

   On June 30, 2022 at 2303 hour I Officer Shiers was patrolling the area of Avenue B and Fourth Street when I saw a red
   Mazda car sitting in the roadway north bound and in the left lane. As I got closer the car it pulled to the right lane and
  stopped . The Driver was talking to a black male on a bicycle. I had to get over on the shoulder in order to pass the car. I
  stopped and asked the driver to move out of the roadway. The driver was later identified as Malcom Stewart stated( I don't
  have to) at that time I reversed my patrol car so I could open my door. Once I got out I then walked back up to Mr. Stewart
  and asked for his driver license. Mr. Stewart stated that he did not have any. I then asked Mr. Stewart how much he had to
  drink and he said nothing. At that time I could smell a overwhelming odor of intoxicating beverage coming from the car. I
  then as Mr. Stewart to step out of the car and he became very agitated and would not comply. As I tried to open the car
  door Mr. Stewart put his left hand on the door trying to keep it shut. I reached through the window to unlock the door and
  that's when Mr. Stewart grabbed my hand then pushed it away from the lock. I then pulled my tazer and ordered Mr. Stewart
  out of the car several time before he complied. Once out of the car I placed Mr. Stewart under arrest and began searching
  him for weapons. Mr. Stewart continued to resist by pulling away. Mr. Stewart began cursing me as I tried to search his
  person. I tried to placed Mr. Stewart in the passenger rear seat of my patrol car as he continued to curse and resist.As I
  pulled Mr. Stewart's wallet from his left rear pocket he turned toward me yelling and spit from his mouth was hitting me in
 the face, I tried to turn Mr. Stewart away from me that's when he snatched away from me as I had his wallet in my hand and
 it broke the chain connecting the wallet to his belt loop. Mr. Stewart stated give my wallet to Lieutenant Jackson so he can
 give it to a female standing near the patrol car.I then handed the wallet to Lieutenant Jackson and walked toward the red
 Mazda and could hear Lieutenant asking who he wanted to give the wallet to. Lieutenant Jackson then walked to a female
 hand handed the wallet to her. I then began to check the car for weapons and evidence. I then ran the tag number through
 dispatch and they advised me that it should be displayed on a 2004 Chevy not a 2017 Mazda. I then ran the VIN number
 and found that the car was stolen from Jackson Mississippi. I then called for the next wrecker on rotation to tow the car.
 Lieutenant Jackson said he would sit with the vehicle so I could transport Mr. Stewart to the Lexington Police Department
for booking. I then left the scene and started toward the Police Department and Mr. Stewart was still cursing and stated that
 he was going to beat my ass. I told Mr. Stewart if he didn't stop he would only catch more charges and he stated( when we
get to the jail and you take these cuffs off I'm going to beat your fucking ass that a promise). Mr. Stewart continued to say
that and call me white mother fucker. Once at the Police Department Mr. Stewart could not follow simple instruction and
was and continued to resist me as I searched his person. I could smell the intoxicating beverage odor coming from his
 breath and noticed that his eyes were bloodshot red. While listen to Mr. Stewart talk (curse) and threaten me I could hear
him slurring his words. Mr. Stewart was sitting in a chair and I could see his body swaying back and forth. Once completing
the proper paper work for booking I then transported Mr. Stewart to the Holmes County Jail. Once at the Jail Mr. Stewart
was still cursing and calling me names as I took the cuffs off he stated toward me as if he was going to keep his promise
and fight me. I pulled my tazer halfway out of the holster and ordered Mr. Stewart back. At that time he stopped walked
back a couple steps then started toward me again in a threaten manner as I ordered his to stop the second time. The Jail
then opened the door and I was able to exit the Jail. END OF REPORT
Case 3:22-cv-00479-TSL-MTP   Document 28-7                  Filed 09/07/22                             Page 8 of 22
                                 STATEOF.MISSISS y Iii.:-.‘i3        ORM-TRAFFIC TICKET
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                                DIME COURT DESIG ../: .B 077,THE'AFFIANT BEREIN;BEING DULY SWORN,UPON OATH .
                                DOESDEPOSE.AND SA AT ';*FOLLOWECGLOCATION,IIMEAND DATE:
                                Locron of Violation                      At/Near i.              Hwy

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                                      ,R..                                             .                         .:
                                Day     Date
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                                           1 r                .T.nne /703                  Accident         District    Precinct

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                                         6" ,/...)            .0 AM EI'PId                 0 yes M.e  '
                               Defendant (First Name,         Middle Name,                 Last Name)


                                License Address


                                City                                till   0-1,1
                                                                                                                   Zip Code

                                                                                                                  32c755---
                                Driver's LicenseNumber                                 Class   State      Sex


                                 • a a ense 'um.                •       Year            Make                              'type


                                Defendant's CurrentAddress:
                                                               •                        ,v7,,,,d,-
                                Defendant's Current Telephone Number:
                                Thatthe.above named:defendant, while operating the aforementioned motor vehicle, did willfully
                                and unlawfully commit the offense of:
                                (Check Only One Offense Each Ticket)           SPEED                  ZONE


                                0 S92 Speeding                                 0 F02 Child Restraint Violation
                                0 M14 Disregard For Traffic Device             0 F04 Seatbelt Violation
                                0 N70 Driving Wrong Side Road                   PS5-iNo Drivers License (Expired)
                                Cl B26 Driving While License Suspended         0 B55 No Motor Vehicle Inspection (Expired).
                                0 1VI34 Following Too Closely                  0 B53 Expired TagNo Tag
                                0 M70 Improper Passing                         0 B26 Driving While License Suspended
                                0 NOl Failure To Yield Right OfWay                    (tinder Implied Consent Law)
                                0 M84Reckless Driving                           0 N50Improper Tam
                                0 M8I Careless Driving                         0 Dr36 No.ProofofLiability Ins,
                                0 Explanation:                                  0 Other Violation(                        )
                                0 Check Only IfDriverLicense Is Deposited In Lien OfBond Or Other Security.
                                0 Violation Pursuant To Commercial Driver's Licensejeaw.
                                0 Required Placard Under Hazardous M. ...,.•rials Aortation Act.
                                 Against the peace and dignity o 63,S   Kfrof /ssippi.
                                 Affiant/ Officer's Signs               ...1 ..C/. r                            Unit/Badge# Pi-VI
                                 Sworn to before me                                                     •                20

                                                              Clerk
                                 You are hereby notified to appear before the court (Sus&              um       o answer the charge on
                                 the 14 r
                                        I             ,64
                                              day of /f7 1.               20 i ,2-At           9J40              M at
                                 Court's Physical Address: 112 SPRING STREET'LEXINGTON, MS 39095
                                 Court's Mailing Address: 207 TCHULA STREET LEXINGTON, MS 39095
                                 Court's Telephone Number:          662-834-3951
                                 NOTE:CONTACT TOP COURT TO CONFIRM THE COURT DATE
                                 SE REVERSE SIDE FORADomoNALINFORMATION


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                                             Lexington Agency\•Nde N.4604 •                   — -
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                                    Location of Violation                     At/Near .              _ Hwy .-


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                                     P e en...      -. en Address:
                                    Defendant's Current Telephone Number:
                                    Thatthe above named defendant while operating the aforementioned motor vehicle, did willfully
                                    and unlawfully commit the offense of
                                    (Cheek Only One Offense Each Ticket)          SPEED                  ZONE


                                    0 S92 Speeding                               0 F02 Child Restraint Violation
                                    0 M14 Disregard For TrafEcDevice             0 F04 Seatbelt Violation
                                    0 N'70 Driving Wrong Side Road               0 B51 No Drivers License (Expired)
                                    0 B26 Driving While License Suspended        0 B55 No Motor Vehicle Inspection(Expired)
                                    0 M34 Following Too Closely                  0 B53 Expired Tag/No Tag
                                    0 M70 Improper'Passing                       0 326 Driving While License Suspended
                                    0 NO1 Failure To Yield Right OfWay                  (Under Implied Consent Law)
                                    0 M84 Reckless Driving                       0 N50 Improper Turn
                                    0 M.S1 Careless Dri g                 (     _12 D36 No Proof of Liability Ins.
                                    M     lanation: /1               f i .e.&x'  0 Other Violation(                       )
                                    0 Check Only If Driver Liceti e Is Deposite In Lieu OfBond Or Other Security.
                                    0 Violation Pursuant To Commercial Driver's License Law.
                                    0 Required Placard Under Hazardous Materials Transportation Act.
                                     Against the peace and dignity cf e
                                     Affiant/ Officer's Signatur
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                                     Swore to before me this th               day                                                20

                                                                      Clerk
                                     You arp.Nreby notified to appear before the court gristle                 cip,ak to answer the charge on
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                                      the i i Physical Address: 112 SPRING STREET LEXINGTON, MS 39095
                                      Court's
                                      Court's Mailing Address: 207 TCHULA STREET LEXINGTON, MS 39095
                                      Court's Telephone Number             662-834-3951
                                      NOTE: CONTACT THE COURT TO CONFIRM THE COURT DATE .
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                                                 Lexington.         ency          e    2604
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                                      DOES Df2USE'AND.SAY:=AT iiih:FOLL           G L CATION,TIME AND,DATE:. '
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                                      Defendant (First Name,         Middle Name,         Last Name)

                                      Wa-/C0>v)                    571--        ;
                                                                                ,
                                                                                (- -4-
                                      License Address


                                      City

                                                   1-0714
                                      Driver'slicAse Number


                                      Vehicle License Numbest


                                      Defendant's CurrentAddress:
                                      Defendant's Current TelephoneNumber:
                                      That the above named defendant, while operating the aforementioned motor vehicle, did willfully
                                      and unlawfully commit the offense of:
                                      (Check Only One Offense Each Ticket)            SPRRI)                 ZONE


                                      ❑ S92 Speeding                                0 F02 Child Restraint Violation
                                      0 M14 Disregard For Traffic Device            0 F04 Seatbelt Violation
                                      0 N70 Driving Wrong Side Road                 0 BSI No Drivers License (Expired)
                                      0 B26 Driving While License Suspended         D B55 No Motor Vehicle Inspection (Expired)
                                      0 M34 Following Too Closely                   0 B53 Expired Tag/No Tag
                                      0 M70 Improper Passing                        0 B26 Driving While License Suspended




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                                      0 NO1 Failure To Yield Right Of Way                  (Under Implied Consent Law)
                                      0 M84 Reckless Driving                        0 N50 Improper Turn
                                      0 M81 Careless Driving                        0 D36 No Proof ofLiability Ins.
                                      0 Explanation:                                21151.her Violation(.5           / C" .-
                                       0 Check Only If Driver License Is Deposited In Lieu OfBond Or Other Security.
                                       ❑ Violation Pursuant To Commercial Driver's License Law.
                                       0 Required Placard Under Hazardous Materi Transportation Act
                                       Against the peace and dignity of e4hat           issippi.

                                       Affiant/ Officer's Simian                                                 Unit/ Badge #PP

                                       Sworn to before me                       of                                          ,20

                                                                     Clerk

                                       You are he       notified to ap ear before the court (rustic
                                                                                             ‘      n
                                                                                                    n ipa to answer the charge on.
                                       the 1 1      day of                    ,20av--.At7
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                                       Court's Physical Addres's: 1 I2 SPRING STREET LEXINGTON, MS 39095
                                       Court's Mailing Address: 207 TCHULA STREET LEXINGTON, MS 39095
                                       Court's Telephone Number:          662-834-3951
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                                        ORIGINAL/AFFIDAVIT Case                  Page              Docket -                             7-09
Case 3:22-cv-00479-TSL-MTP   Document 28-7                   Filed 09/07/22                            Page 11 of 22

                                  .UNIFORIVI TRAFFIC TICKET* ;                                                       DRIVING UNDER THEINFLUENCE
                                       AGENCY CODE
                                              2604                             Ci          of Latin' gton                                 K. 0006.54
                                     IN THE COURT DESIGNATED BELOW,THE ARRANT HEREIN; BEING DULY SWORN,UPON OATH DOES DEPOSE AND
                                    SAY'THAT WITHIN THE COUNTY OF             H OLMES                          STATE OF MISSISS PPI,
                                     AT THE•FOLLOWING LOCATION,TIME AND DATE:                            JUDICIAL DISTRICT 01 02
                                   i HWY 1-813                                               DISTRICT
                                        ,nvem.(..i.e '5                                                                       TIME
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                                           rid, ,,,                            DATE6444,                                          OF STOP
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                                                                                                                                                   A.m. ACCIDENT?
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                                   DEFENDANT'S CURRENT TELEPHONE NUMBER

                                   Erense
                                     a        occurred within the city limits of •f----
                                                                                      -_- Xr.-17.-4/ J-t-7-v",          Mississippi
                                   0.Violation pursuant.to Commercial Driver's license Lg. 0 Required placard under Hazardous Materials Transportation Act
                                   That the aforesaid person did, In violation of § 63-11-30(1)-Mississippi Code of 1972 willfully and unlawfully drive.or otherwise operate a
                                   motor vehicle within this state:                                                  ..,,
                                   f f."(lar. Under the Influence of intoxicating liquor, or
                                   talErunder the influence of any other substance which impaired such person's ability to operate a motor vehicle; or                 ..
                                   0(c) Under the Influence of any drug or controlled substance,the possession of which isounlav:iful'under the Mississippi Controlled Substances Law;or
                                    (d) Has an alcohol concentration In the persont blood, based upon grams of alcohol per 100m1of blood, or grams of alcohol per 200L of breath, as
                                            shown by a chemical analysis of the person's breath, blood or urine administered as authorized bythls chapter,01:
                                   0 (I) Eght one,hundredths percent(.08%) or more for a person who is above the legal age to purchase alcoholic beverages under state law, to wit  %;or
                                   0(0)Two one-hundredths percent(.02%) or more for a person who is below the legal age to purchase alcoholic.beverages under state law,to wit _t___%;or
                                   0.(I11) Four one-hundredths percent(.04%)   or more for a person operating a commercial  motor vehicle, to wit____%.

                                    After such person.has been convicted of               one prior offense or      _ two-prior offenses under §63-11-30(1) on the                day
                                    of                      20     ,in the                                   court of                       county/city of
                                    State of                        • on the               day of                 20         in the                        court of
                                    county/city of                    State of.                           ; and the offenses having been committed within five years.
                                                       AGAINS.VT                      P     CE AND DIGNITY OF THE STATE OF MISSSIPgt.
                                    OFFICER'S SIGNATURE---)4,--/....)                                           UNIT / BADGE # J"i
                                    SWORN TO BEFOREV4THIS THE/                                  DAY OF                                              20           at          am/pm

                                                                                                                                          (NAME AND TITLE)
                                    ARM!IGNMENT
                                       "1.        DATE-BEFORE:                    / Y.''
                                                                                      ,
                                   _rE MUNICIPAL COURT 0 JUSTICE COURT ON THE AuDAY OF,    4   4-_fiLt6. - - , 20g/    11 epm
                                                                                                                  A _ at=
                                    COURT'S PHYSICAL ADDRESS       112 SPRING        ET  LE4K GT N, MS              95
                                    COURT'S MAILING ADDRESS        207 TCHULA    STREET    LEXINGTON,        MS   39095
                                    COURTS TELEPHONE NUMER f        )            662-S34-3951
                                   . CASE #                            PAGE#                       DOCKET#
                                     OFFENSE:        FIRST fg-----  SECOND 0         THIRD OR SUBSEQUENT 0
                                     ORIGINAL/AFFIDAVIT - THIS COPY MUST'BE FILED WITH THE COURT- OR COURT CLERK



                                    THE DEFENDANT CHARGED HEREIN:
                                                                    WAIVED defendant's right to an attorney after having been advised by the trial judge of the defendant's
                                     right to an attorney, and, if the defendant could not afford-an attorney that one would be appointed.free of charge -to represent the
                                     defendant; or '                               WAS REPRESENTED (EMPLOYED OR.APPOINTED) by an attorney whose name,
                                     address and telephone number is:
                                    .Name                                                                        Phone(        )
                                      Address
                                                                                          -SIGNATURE OF JUDGE
                                                                                                                                                                                 Rev. 7-14
                                                                                           ORIGINAL / AFFIDAVIT
  Case 3:22-cv-00479-TSL-MTP    Document 28-7    Filed 09/07/22    Page 12 of 22




  AFFIDAVIT
                                             Case#          1722
                                                        6V51:          (
                                                                      q?1

  STATE OF MISSISSIPPI                       Page#
                                           Docket#
      HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
  City of Lexington           y Mississippi   Officer James Shiers
  makes affidavit on information and belief that
                   Malcom Stewart                      on or about
  the 30th day of               June        2022 in the City of
        Lexington      Mississippi , County aforesaid, did
  willfully and unlawfully resist and odstruct by pulling away
  his lawful arrest by James Shiers, a local law enforcement
  officer.



                           [97-9-73]




 against the peace and dignity of the state of   sissippi and / or
 said City .
                                                     7

Sworn to and subscribed before me this the                   day

 of     7firpi-e     7




                                 Municipal Judge / Cou Clerk
  Case 3:22-cv-00479-TSL-MTP     Document 28-7    Filed 09/07/22    Page 13 of 22




  AFFIDAVIT
                                            Case#     ,   Q-22JA60
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  STATE OF MISSISSIPPI                      Page#
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  HOLMES COUNTY




       Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington            Mississippi      ficer James Shiers
                                                Of
                             ,               7
  makes affidavit on information and belief that
                   Malcom Stewart                       on or about
  the 30th day of              June         , 2022 , in the City of
        Lexington    ,
                       Mississippi 7 County aforesaid, did
  willfully and unlawfully, with intent to provoke a breach of
  peace refuse to com ply with the com mand of James Shiers
  a law enforcement of ficer who had the authority to then and,
  there arrest any person for a violation of the law, to remove
  the vehicle from blocking the road and then remove himself
  from the vehicle at Avenue B Lexington Mississippi.


                                  [97-35-7(1)
                                            ]


 against the peace and dignity of the state of Mississippi and / or
 said City
                                                 Pd
Sworn to and subscribed before me this the                    day

of   lob-e            70     .



                                              —
                                  Municipal Judge / Cou      lerk
  Case 3:22-cv-00479-TSL-MTP    Document 28-7     Filed 09/07/22     Page 14 of 22




  AFFIDAVIT
                                            Case#
  STATE OF MISSISSIPPI                      Page#
                                           Docket#      <Q,1
   HOLMES COUNTY




      Before me, the undersigned, Municipal Court Clerk of the
  City of Lexington            Mississippi      ficer James Shiers
                                               Of
                                           7
  makes affidavit on information and belief that
                    Malcom Stewart                     on or about
  the 30th day of              June          2022 , in the City of
       Lexington      , Mississippi    County aforesaid, did
   purposely, knowingly and feloniously attempt to cause
  bodily injury to James Shiers a police of ficer while acting
  within the scope of his duty, threatening to beat him then
  acting on it at the Hol mes county Jail.


                  [97-3-7
                        (1)
                          (b)
                            ]




 against the peace and dignity of the state of Mississippi and / or
 said City



Sworn to and subscribed before me this the                     day

    (
of Li- /-16-
     “

                                                  7     (
                                                    4t-C4 k)
                                 Municipal Judge / Court erk
  Case 3:22-cv-00479-TSL-MTP     Document 28-7     Filed 09/07/22    Page 15 of 22




     AFFIDAVIT
                                              Case#                  te in"
  STATE OF MISSISSIPPI                       Page#      '
                                                        5 (
                                                          ,
                                                          01
                                            Docket#
     HOLMES COUNTY




      Before me, the undersigned, Municipal Court Clerk of the
   City of Lexington              Mississippi    Of
                                                  ficer James Shiers
  makes affidavit on information and belief that
                     Malcom Stewart                     on or about
  the 30th day of                June         2022 in the City of
       Lexington        , Mississippi , County aforesaid, did

   did willfully, intentionally, unlawfully and feloniously
  possess of stolen property, to wit:)2017 Mazda vehicle
  knowing or having reasonable grounds to believe same to
  have been stolen wherein such property has a value of
  $25,000.00



                               [97-17-70]


 against the peace and dignity of the state of M sissippi and / or
 said City



Sworn to and subscribed before me this the                     day

of     Lftt,i-e,       A,
                        7-0

                                                      747
                                  Municipal Judge / Court tierk
          Case 3:22-cv-00479-TSL-MTP           Document 28-7        Filed 09/07/22      Page 16 of 22

                             LEXINGTON POLICE DEPARTMENT
                                STATEMENT OF CHARGE(S)
              TO: WARDLN,PITIRCF


                                    If
                                     ryi
•




                          04 0
                          /  ,0

              ADDRESSM=1111                                                1

             CiTY:         L -tk          +WI'           STATE%         ZINIO9r

             3SN:

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                                                                                    1
                                                                                    .

                              /Y11104.g 5i/en
                                                     OND AMOUNn.$ I.
                                                   LC.                           ZYY)

                    • The above named defendant is being bron t to fifiRCM on the charge (s)
            • mentioned above. You are requested to inearcerafr said defendant until,he/she shall
              either post the required bond set forth above, or vatil prqperlY given his liberty by
    •11
              the municipal court ofthe below listed nnmicipality

                   This defendantis being b ought to yourjail rincarceration by the Lexington
            Police Departmentfor      •


            This                          day of                               20 2-
Case 3:22-cv-00479-TSL-MTP                      Document 28-7              Filed 09/07/22    Page 17 of 22




IN THE MUNICIPAL COURT OF              L                  Ton)         , MISSISSIPPI

CITY OF    4 I N U7
         t.)
           '          )
                      1                             ,MISSISSIPPI versus
DEFENDANT:     1\4ak-A 04—k

Case /I            . Docket #         . Page ;',1

                                    PRELIMINARY HEARING ORDER

WHEREAS this Court having conducted, pursuant to Rule 6.2 of the Mississippi Rules of Criminal
Procedures, a preliminary hearing on the DEFENDANT in the above-styled case, the charge being a
FELONY, to wit:(Specify the charge)      D55essAtke. c* 61-614,- 11-401,1* tkt%)e.t.a cl_i_efi
and: (Check one)                              -ri„,                  btu: 0-66 ,ke r

`\
 1        The DEFENDANT being represented by counsel,            1 }-4_.
                                                    e_M                                            tt.S a OW,
❑         The DEFENDANT knowingly and voluntarily waiving the right to an attorney at the hearing,
          and instead choosing to conduct his/her own defense, as evidenced by the sworn, written waiver
          on file with this Court.

and, the DEFENDANT being afforded the right to subpoena witnesses and cross-examine adverse
w itnesses testifying at the hearing, this Court finds from the evidence presented:(Check one)

❑         That there is PROBABLE CAUSE to believe that a FELONY has been committed and that the
          DEFENDANT committed it, as follows:(Specify) _

a         That there is NOT PROBABLE CAUSE to believe that a FELONY has been committed or that the
          DEFENDANT committed it, as follows: (Specify)

THEREFORE,IT IS HEREBY ORDERED:

a         The DEFENDANT is to be bound over to await the action of the Grand Jury of _d5/41.  6
          County, which convenes at the regular term of the f/bf0%vS          County Circuit Court, on
          the above specified charge. IT IS FURTHER ORDERED:

          ffr---   The terms of the DEFENDANT'S release shall remain unchanged.
          a        The terms of the DEFENDANT'S release shall be modified, as follows;(Specify)



O         The DEFENDANT is to be discharged from custody, THE DISCHARGE OF THE DEFENDANT
          UNDER THIS ORDER DOES NOT PRECLUDE THE DISTRICT ATTORNEY FROM
          PRESENTING THE SAME OFFENSE TO A GRAND JURY.

                                            rt•
                                             —day of             20 22.
ORDERED AND ADJUDGED this the                              /


                                                                    MUNICIP                 UDGE
            Case 3:22-cv-00479-TSL-MTP           Document 28-7      Filed 09/07/22    Page 18 of 22



                         Arrest Report                                 Lexington Police Department


                                 ARREST REPORT

Case #

                                      NARRATIVE
 (INCLUDE IF PHOTOS WERE TAKEN, FINGERPRINTS AND EVIDENCE IF ANY SECURED AT LOCATION AND ANY
                             OTHER INFORMATION VITAL TO REPORT)

  On 04/09/2022 Malcom Stewart arrivesiaLthe-stationscre ming_ancLyalling at Officers. I I t Fpps
 advised Malcom Stewart to stop. He contin ued to scream and yell very loudly. I told the subject to stop
 multiple times. After Stewart_ b                 I I t. Fpps advised Stewart he        incler arrest He

 to scream and yell at Officers. End of report




                                        ADDITIONAL SHEET ATACHED YES I I                     NO
OFFICER'S SIGNATURE

SUPERVISOR APPOVAL DATE:                         SUPERVISOR DISAPPROVAL DATE:

BY:                                                                                      PAGE # 2
               Case 3:22-cv-00479-TSL-MTP                 Document 28-7            Filed 09/07/22          Page 19 of 22




                                    Crim inal Record                                              c
                                                                                                  Paid Prior
                                                                                                  to Court
                                                                                                                (CLEAR)
     Case                                                   Year      Ticket or Aff. #
                      Warrant Issued                                                     Evidence Logged In
    1 32935                                                 2022         old fines
   Last     Stewart                          First    Malcom                              Mi.              Suffix          I

Address                                                City Lexington                           State    MS     Zip 39095
                                                         Phone

D.O.B.                        Age   53       Height                  Weight

                                    Race     B I          Sex    M

 Scars or Marks

            Alias

  DL#                               SSI\I#

 DL State MS        DL Class NA          DL Status    No D/L
  Do Not Make Changes to Violation on This Screen.
Violation                                                                 Date 04-09-2022                Time
Hwy or Street 207 Tchula St                         Speed    -            Speed Limit -       Accident
Court Date 05-05-2022                    Blood Alcohol Content                       Shoplift/DUI Form                         I
Companion Cases                     Offense                                                             I Offense Code
                                           Fine & Assessments
  Total                                    Fine Plus
Assessments         $35.00                 Assessments     $35.00                        Account Balance              $0.00

         Fine Amount                                                 This Is A List Of The Local Assessments
                                                                                 You Have Asigned.
         Select The State Assessments
               For This Violation                                    Check The Box Below If You Want These
                                                                      Assessments Added To This Account
           State Assessment Codes
                                     1                                  Add Local'Assessments A.
                                                                            HC- Crime Stoppers                      0.00
                                                                                Technology Fee                      0.00
                              I                                                        UMI 1st                      0.00
                              I                                                                Non-Adj
                            1                                                           Processing Fee           35.00
               State Assessment Total                                   Local Assessment Total                  $35.00

                                           Officer information
         Pd#   3                         Bdct#   3                            Officer     Cordarius Epps
Same as Officer         If other than the Officer                                                       Dispatcher
    Charges Filed by     Cordarius Epps                                                                  Thompson
               Case 3:22-cv-00479-TSL-MTP                  Document 28-7            Filed 09/07/22          Page 20 of 22




                                     Crim inal Record                                              Paid Prio?
                                                                                                   to Court J
                                                                                                                @LEAR
                                                                                                                    )
      Case                                                     Year    Ticket or Aff. #
                     Warrant Issued NO                                                    Evidence Logged In
    1 32934                                                    2022       024961
   Last      STEWART                          First    MALCOLM                             Mi.              Suffix
Address                                                  City LEXINGTON                          State    MS    gin 39095
                                                         Phone

D.O.B.                         Age   53       Height                  Weight

                                     Race     B           Sex     M

 Scars or Marks

           Alias

  DL#                                SSN#

 DL State MS       DL Class NA            DL Status    No D/L
  Do Not Make Changes to Violation on This Screen.
Violation EXPIRED / NO DRIVER LIC                                          Date 04-09-2022               Time
Hwy or Street 207 TCHULA ST                            Speed      -        Speed Limit -       Accident
Court Date 05-05-2022                     Blood Alcohol Content                       Shoplift/DUI Form                I
Companion Cases                      Offense M Traffic (Moving Violation)                                Offense Code M
                                            Fine & Assessments
  Total                                    Fine Plus
Assessments        $93.00                  Assessments     $343.00                        Account Balance             $0.00

         Fine Amount        $250.00                                   This Is A List Of The Local Assessments
                                                                                  You Have Asigned.
         Select The State Assessments
                For This Violation                                    Check The Box Below If You Want These
            State Assessment Codes                                     Assessments Added To This Account
          Traffic Violation         TV                 90.50             Add Local Assessments 0
         Court Constituents        CC                   0.50                 HC- Crime Stoppers                   2.00
  f                   _              I                                          Technology Fee                    0.00
                                      1                                                 UMI 1st                   0.00
                                                                                                Non-Adj
                                                                                         Processing Fee
              State Assessment Total                   91.00             Local Assessment Total                 $2.00

                                            Officer information
         Pd# 3                            Bd #    3                            Officer     Cordarius Epps
Same as Officer          If other than the Officer                                                       Dispatcher
      Charges Filed by   Cordarius Epps                                                                    MILLER
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                                      Crim inal Record                                                Paid Prior
                                                                                                      to Court

       Case                                                        Year    Ticket or Aff. #
                      Warrant Issued NO
    132933                                                         2022      A-121-22 Evidence Logged In
   Last       STEWART                          First       MALCOLM                             ML              Suffix

Address                                                      City LEXINGTON                         State    MS     zip 39095
                                                             Phone

D.O.B.                          Age            Height                     Weight

                                      Race    B               Sex     M

 Scars or Marks

            Alias

  DL#                                 SSN#

 DL State           DL Class             DL Status
                                            I
  Do Not Make Changes to Violation on This Screen.
Violation Disturb the Peace                                                    Date 04-09-2022               Time
Hwy or Street                                      Speed, -                    Speed Limit -       Accident
Court Date 05-05-2022                   Blood Alcohol Content                             Shoplift/DUI Form

Companion Cases                       Offense ,A Misdemeanor Assault                                        I Offense Code A
                                             Fine & Assessments
  Total                                     Fine Plus
Assessments         $124.25                Assessments         $624.25                        Account Balance             $0.00

         Fine Amount             $500.00                                  This Is A List Of The Local Assessments
                                                                                      You Have Asigned.
         Select The State Assessments
                For This Violation                                        Check The Box Below If You Want These
                                                                           Assessments Added To This Account
            State Assessment Codes
         Other Misdemeanor I OM       121.75                                 Add Local Assessments a
         Court Constituents      , CC   0.50                                     HC- Crime Stoppers                     2.00
                         -----,-,
                                                                                    Technology Fee                      0.00
                                                                                            UMI 1st                     0.00
                                                  i                                         Non-Adj
   F                  .
              =                                                                              Processing Fee
              State Assessment Total                      122.25             Local Assessment Total                 $2.00

                                             Officer information
         Pd# J3                           Bd #        3                            Officer     Cordarius Epps
Same as Officer           If other than the Officer                                                         Dispatcher
       Charges Filed by   Cordarius Epps                                                                      MILLER
               Case 3:22-cv-00479-TSL-MTP                    Document 28-7            Filed 09/07/22          Page 22 of 22




                                     Crim inal Record                                                Paid Prior
                                                                                                     to Court 4
                                                                                                                CLEAR
                                                                                                                    )
     Case                                                        Year    Ticket or Aff. #
                      Warrant Issued
    1 32932                                                  2022          A-122-22 Evidence Logged In
   Last     STEWART                           First      MALCOLM                             Mi.              Suffix

Address                                                    City LEXINGTON                          State          Zip
                                                           Phone

D.O.B.                         Age            Height                    Weight

                                     Race                   Sex    LJ

 Scars or Marks

            Alias

  DL#                                SSN#

 DL State           DL Class           DL Status         No D/L

  Do Not Make Changes to Violation on This Screen.
Violation Disorderly conduct                                                 Date 04-09-2022               Time
Hwy or Street                                     Speed   -                  Speed Limit -       Accident Li
Court Date 05-05-2022                  Blood Alcohol Content                            Shoplift/DUI Form    1
Companion Cases                      Offense A Misdemeanor Assault                                         Offense Code A
                                            Fine & Assessments
  Total                                  Fine Plus
Assessments         $159.25              Assessments         $659.25                        Account Balance              $0.00

         Fine Amount      $500.00                                       This Is A List Of The Local Assessments
                                                                                    You Have Asigned.
          Select The State Assessments
                For This Violation                                      Check The Box Below If You Want These
                                                                         Assessments Added To This Account
            State Assessment Codes
         Other Misdemeanor 1 OM        121.75                              Add Local Assessments              r
         Court Constituents       CC     0.50                                  HC- Crime Stoppers                      2.00
                                                                                  Technology Fee                       0.00
                                                1                                         UMI 1st                      0.00
   _ .- --_
                               _                1                                                 Non-Adj
                                                1                                          Processing Fee          35.00
              State Assessment Total                    122.25             Local Assessment Total                 $37.00

                                            Officer information
         Pd# 3                          Bd #        3                            Officer     Cordarius Epps
Same as Officer         If other than the Officer                                                          Dispatcher
     Charges Filed by    Cordarius Epps                                                                      MILLER
